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1A
 101-7-TDR
 /2009
 /2010
 2ems Inc.
                                                UNITED STATES BANKRUPTCY COURT
                                                    DISTRICT OF PUERTO RICO
                                                  HATO REY (SAN JUAN) DIVISION


              In re:                                        §
                                                            §
              ACADEMIA SAGRADO CORAZON,                     §     Case No. 15-06955
              INC.                                          §
                                                            §
                                  Debtor                    §

                              CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                              REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                              ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                      NOREEN WISCOVITCH-RENTAS, chapter 7 trustee, submits this Final Account,
              Certification that the Estate has been Fully Administered and Application to be Discharged.

                      1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
              and, if applicable, any order of the Court modifying the Final Report. The case is fully
              administered and all assets and funds which have come under the trustee’s control in this case
              have been properly accounted for as provided by law. The trustee hereby requests to be
              discharged from further duties as a trustee.

                     2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
              discharged without payment, and expenses of administration is provided below:


               Assets Abandoned: 243,445.00                        Assets Exempt: NA
               (Without deducting any secured claims)

               Total Distributions to Claimants: 491,093.30        Claims Discharged
                                                                   Without Payment: NA

               Total Expenses of Administration: 61,847.82


                      3) Total gross receipts of $ 604,632.68 (see Exhibit 1), minus funds paid to the debtor
              and third parties of $ 51,691.56 (see Exhibit 2), yielded net receipts of $ 552,941.12 from the
              liquidation of the property of the estate, which was distributed as follows:




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                                                  CLAIMS           CLAIMS                 CLAIMS                 CLAIMS
                                                SCHEDULED         ASSERTED               ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                         $ NA         $ 39,799.39            $ 39,799.39           $ 39,799.39

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                         NA           43,458.63              43,458.63                43,458.63

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                 NA           18,389.19              18,389.19                18,389.19

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                  NA          105,767.13             105,767.13            105,767.13

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                            220,979.00          389,054.18             389,054.18            345,526.78

TOTAL DISBURSEMENTS                               $ 220,979.00       $ 596,468.52           $ 596,468.52          $ 552,941.12


                 4) This case was originally filed under chapter 11 on 09/09/2015 , and it was converted
          to chapter 7 on 10/05/2016 . The case was pending for 17 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 02/16/2018                        By:/s/NOREEN WISCOVITCH-RENTAS
                                                                        Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT


               EXHIBIT 1 – GROSS RECEIPTS

                              DESCRIPTION                                    UNIFORM                                       $ AMOUNT
                                                                            TRAN. CODE1                                    RECEIVED

    Post-Petition Interest Deposits                                             1270-000                                         1,254.63

    FINANCIAL ACCOUNT                                                           1290-000                                      603,378.05

TOTAL GROSS RECEIPTS                                                                                                         $ 604,632.68
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


               EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                      PAYEE                                       DESCRIPTION                           UNIFORM            $ AMOUNT
                                                                                                       TRAN. CODE             PAID

Universidad Interamericana de Puerto                 Non-Estate Funds Paid to Third
Rico, Inc.                                           Parties                                            8500-002               51,691.56

TOTAL FUNDS PAID TO DEBTOR &                                                                                                  $ 51,691.56
THIRD PARTIES


               EXHIBIT 3 – SECURED CLAIMS

                                                    UNIFORM        CLAIMS
                                                                                     CLAIMS                CLAIMS
CLAIM NO.                 CLAIMANT                   TRAN.      SCHEDULED                                                  CLAIMS PAID
                                                                                    ASSERTED              ALLOWED
                                                     CODE      (from Form 6D)

                INTERNAL REVENUE
2-3(A)          SERVICE                             4300-000                NA             39,799.39          39,799.39         39,799.39

TOTAL SECURED CLAIMS                                                      $ NA         $ 39,799.39           $ 39,799.39       $ 39,799.39


               EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES




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                                          UNIFORM
                                                        CLAIMS          CLAIMS           CLAIMS
               PAYEE                       TRAN.                                                        CLAIMS PAID
                                                      SCHEDULED        ASSERTED         ALLOWED
                                           CODE

NOREEN WISCOVITCH-RENTAS                   2100-000               NA       30,897.06       30,897.06         30,897.06


NOREEN WISCOVITCH-RENTAS                   2200-000               NA            72.19           72.19            72.19


OFFICE OF THE U.S. TRUSTEE                 2950-000               NA         1,300.00        1,300.00          1,300.00


Vilarino & Assoc.,LLC                      3210-000               NA         7,762.50        7,762.50          7,762.50


Vilarino & Assoc.,LLC                      3220-000               NA          129.33          129.33            129.33


TAMAREZ CPA, LLC                           3410-000               NA         3,140.00        3,140.00          3,140.00


TAMAREZ CPA, LLC                           3420-000               NA          157.55          157.55            157.55

TOTAL CHAPTER 7 ADMIN. FEES                                  $ NA         $ 43,458.63     $ 43,458.63      $ 43,458.63
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                          UNIFORM
                                                        CLAIMS          CLAIMS           CLAIMS
               PAYEE                       TRAN.                                                        CLAIMS PAID
                                                      SCHEDULED        ASSERTED         ALLOWED
                                           CODE

INTERNAL REVENUE SERVICE                   6810-000               NA       18,389.19       18,389.19         18,389.19

TOTAL PRIOR CHAPTER ADMIN.                                   $ NA         $ 18,389.19     $ 18,389.19      $ 18,389.19
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS




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                                                                 CLAIMS            CLAIMS
                                                    UNIFORM
                                                               SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.                 CLAIMANT                   TRAN.                                                          CLAIMS PAID
                                                                (from Form      (from Proofs of     ALLOWED
                                                     CODE
                                                                    6E)             Claim)

                DEPARTMENT OF
9(A)            TREASURY                            5800-000              NA           32,309.54        32,309.54       32,309.54


                INTERNAL REVENUE
2-3(B)          SERVICE                             5800-000              NA           70,615.30        70,615.30       70,615.30


                STATE INSURANCE FUND
8(A)            CORP.                               5800-000              NA             2,842.29        2,842.29          2,842.29

TOTAL PRIORITY UNSECURED                                                $ NA        $ 105,767.13     $ 105,767.13     $ 105,767.13
CLAIMS



               EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                                 CLAIMS            CLAIMS
                                                    UNIFORM
                                                               SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.                 CLAIMANT                   TRAN.                                                          CLAIMS PAID
                                                                (from Form      (from Proofs of     ALLOWED
                                                     CODE
                                                                    6F)             Claim)

                BIG DEAL
                EXTERMINATOR                                         1,450.00                 NA              NA               0.00


                DEPORTES SALVADOR
                COLON, INC.                                            700.00                 NA              NA               0.00


                DREYFOUS &
                ASSOCIATES, INC.                                    14,000.00                 NA              NA               0.00


                EDU COMPUTER
                CORPORATION                                         39,000.00                 NA              NA               0.00


                ELECTRIC SERVICE CORP                                1,300.00                 NA              NA               0.00




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                                                               CLAIMS            CLAIMS
                                                  UNIFORM
                                                             SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                              (from Form      (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)             Claim)

              JEZSOR PRINTS CORP                                   1,079.00                 NA              NA               0.00


              OTIS ELEVATOR, CORP.                                 2,000.00                 NA              NA               0.00


              ROYAL FINANCE, CORP.                                 1,200.00                 NA              NA               0.00


              SES ELEVATOR
              SERVICES, CORP.                                      2,250.00                 NA              NA               0.00


              AUTORIDAD
              ACUEDUCTOS Y
6             ALCANTARILLADOS                     7100-000        40,000.00          45,161.98       45,161.98        45,161.98


              AUTORIDAD ENERGIA
5             ELECTRICA                           7100-000       118,000.00         118,772.32      118,772.32       118,772.32


              BANCO POPULAR DE
7             PUERTO RICO                         7100-000              NA           64,161.97       64,161.97        64,161.97


              DEPARTMENT OF
9(B)          TREASURY                            7100-000              NA             7,717.32       7,717.32           7,717.32


              OFFICE OF THE UNITED
3-2           STATES TRUSTEE                      7100-000              NA               325.00         325.00            325.00


              OFFICE OF THE UNITED
4-2           STATES TRUSTEE                      7100-000              NA             3,250.00       3,250.00           3,250.00


1             Pioneer Funding Group, LLC          7100-000              NA           23,200.00       23,200.00        23,200.00


13            Pioneer Funding Group, LLC          7100-000              NA           45,598.47       45,598.47        45,598.47




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                                                                 CLAIMS             CLAIMS
                                                    UNIFORM
                                                               SCHEDULED           ASSERTED          CLAIMS
CLAIM NO.                 CLAIMANT                   TRAN.                                                          CLAIMS PAID
                                                                (from Form       (from Proofs of    ALLOWED
                                                     CODE
                                                                    6F)              Claim)

                STATE INSURANCE FUND
8(B)            CORP.                               7100-000               NA           10,611.77       10,611.77       10,611.77


                DEPARTMENT OF
9(C)            TREASURY                            7300-000               NA           48,719.02       48,719.02       18,534.67


                INTERNAL REVENUE
2-3(C)          SERVICE                             7300-000               NA           21,536.33       21,536.33          8,193.28

TOTAL GENERAL UNSECURED                                           $ 220,979.00       $ 389,054.18    $ 389,054.18     $ 345,526.78
CLAIMS




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                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
                                                                                                                                                                                                           Exhibit 8
Case No:             15-06955                         MCF              Judge:        Mildred Caban Flores                      Trustee Name:                        NOREEN WISCOVITCH-RENTAS
Case Name:           ACADEMIA SAGRADO CORAZON, INC.                                                                            Date Filed (f) or Converted (c):     10/05/2016 (c)
                                                                                                                               341(a) Meeting Date:                 11/10/2016
For Period Ending:   02/16/2018                                                                                                Claims Bar Date:                     02/08/2017


                                  1                                                 2                          3                            4                            5                             6

                         Asset Description                                        Petition/              Est Net Value              Property Formally               Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                           Unscheduled          (Value Determined by              Abandoned                    Received by                Administered (FA)/
                                                                                  Values              Trustee, Less Liens,             OA=554(a)                     the Estate             Gross Value of Remaining
                                                                                                          Exemptions,                                                                                Assets
                                                                                                        and Other Costs)

  1. Commercial Property                                                                200,000.00                      0.00                                                         0.00                        FA

     CONCRETE BUILDING WITH THREE (3) FLOORS ON
     CORRESPONDING LOT DEDICATED TO ACADEMIC
     ACTIVITIES LOCATED AT 1308 AVENIDA PONCE DE
     LEON,
     PARADA 19.5 SANTURCE, SAN JUAN, PUERTO
     RICO,00908.
     AVERAGE AGE OF THIS REAL IS 80 YEARS.
     2ND BUILDING MIXED CONCRETE-WOOD WITH A ZINC
     PANELED CEILING ON CORRESPONDING LOT LOCATED
     AT
     1308 AVENIDA PONCE DE LEON AVENUE, PARADA 19.5
     SANTURCE, SAN JUAN, PUERTO RICO, 00908. DUE TO
     COST-EFFECTIVENESS THIS BUILDING IS NO LONGER
     OPERATED AND IS CLOSED. AVERAGE AGE OF THIS
     REAL IS
     70 YEARS.

     Debtor amended schedule A to updated value ofcommercial
     property .(original value $1.200,000.00) docket 46 filed 3/8/16
     during chapter 11

     The building and equipment was sold during chapter 11. -
     Noreen Wiscovitch 02/18/2017
  2. FINANCIAL ACCOUNT                                                                   22,000.00                      0.00                                                         0.00                        FA

     BANCO SANTANDER ACCOUNT 3004760521.

     This account was closed during Chapter 11




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Case No:             15-06955                MCF     Judge: Mildred Caban FloresPage 9 of 17 Trustee Name:
                                                             Document                                                                              NOREEN WISCOVITCH-RENTAS
Case Name:           ACADEMIA SAGRADO CORAZON, INC.                                                           Date Filed (f) or Converted (c):     10/05/2016 (c)
                                                                                                              341(a) Meeting Date:                 11/10/2016                             Exhibit 8
For Period Ending:   02/16/2018                                                                               Claims Bar Date:                     02/08/2017


                                  1                                 2                         3                            4                            5                             6

                         Asset Description                        Petition/             Est Net Value              Property Formally               Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)           Unscheduled         (Value Determined by              Abandoned                    Received by                Administered (FA)/
                                                                  Values             Trustee, Less Liens,             OA=554(a)                     the Estate             Gross Value of Remaining
                                                                                         Exemptions,                                                                                Assets
                                                                                       and Other Costs)

  3. OFFICE EQUIPMENT                                                   21,445.00                      0.00                                                         0.00                        FA

     STUDENT DESKS (301X$15=$4,515.00); 21,445.00
     DESKS (41X$50=$2,050);
     BLACKBOARDS (43X$50=$2,150)
     FANS (23X$20=$460);
     CRUCIFIXES (10X$20=$200);
     RELIGIOUS ICONOGRAPHY/IMAGES (16X$20=$320);
     ATRIL (18X$15=$270);
     BOOK CASES (38X$30=$1,140);
     CHAIRS (56X$20=$1,120);
     REFRIGERATOR (2X$50=$100);
     ARCHIVOS (27X$50=$1,350);
     COMPUTERS (11X$300=$3,300);
     TV SETS (4X$100=$400);
     DVD (1X$50=$50);
     VCR (1X$20=$20);
     PRINTERS (2X$100=$200);
     COMPUTER TABLES (3X$50=$150);
     FAX MACHINES (1X$50=$50);
     TYPEWRITER (1X$25=$25);
     PHOTOCOPIERS (1X$500=$500);
     GURNY (1X$50=$50);
     FRAMED ART (6X$15=$90);
     TELEPHONES (5X$10=$50);
     BULLETIN BOARDS (2X$15=$30);
     CREDENZAS (2X$100=$200);
     FLAGS (5X$30=$150);
     PAPER SHREDDERS (1X$30=$30);
     STOVES (4X$50=$200);
     WASHING MACHINE (1X$200=$200);
     DRYER MACHINE (1X$200=$200);
     MICROWAVE OVEN (6X$50=$300);
     BOOK CART (1X$15=$15);
     DUMBBELLS (36X$10=$360);
     DUMBELL STAND (2X$50=$100);
     EXERCISE WEIGHTS (90X$10=$900);
     SOUND SYSTEM (1X$200=$200);

     The building and equipment was sold during chapter 11. -
     Noreen Wiscovitch 02/18/2017




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                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
                                                                                                                                                                                                             Exhibit 8
Case No:              15-06955                         MCF            Judge:        Mildred Caban Flores                         Trustee Name:                        NOREEN WISCOVITCH-RENTAS
Case Name:            ACADEMIA SAGRADO CORAZON, INC.                                                                             Date Filed (f) or Converted (c):     10/05/2016 (c)
                                                                                                                                 341(a) Meeting Date:                 11/10/2016
For Period Ending:    02/16/2018                                                                                                 Claims Bar Date:                     02/08/2017


                                   1                                                2                           3                             4                            5                             6

                         Asset Description                                       Petition/                Est Net Value               Property Formally               Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                    Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                     the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                                 Assets
                                                                                                         and Other Costs)

  4. FINANCIAL ACCOUNT (u)                                                               603,378.05                 588,498.43                                                  603,378.05                         FA

      DIP account No 3004760807
  5. Tax Refund (u)                                                                            0.00                       0.00                                                         0.00                        FA

     941 tax refund for March 2015.

     The IRS has informed accountant that this was an error.
     Debtor has large debt with IRS. No tax refund will be issued.
     - Noreen Wiscovitch 08/13/2017
INT. Post-Petition Interest Deposits (u)                                                  Unknown                         N/A                                                     1,254.63                     Unknown


                                                                                                                                                                                    Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                     $846,823.05              $588,498.43                                                   $604,632.68                       $0.00
                                                                                                                                                                                    (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  Checks cut. - Noreen Wiscovitch 12/01/2017
  NFR and TFR submitted to UST. - Noreen Wiscovitch 08/28/2017
  Settlement stipulation approved. Trustee issued Payment. Trustee to review claims in order to TFR. - Noreen Wiscovitch 07/28/2017
  Trustee is negotiating a settlement with buyer of the realty during Chapter 11. - Noreen Wiscovitch 3/31/2017
  Trustee has hired accountant and attorney to determine. Tax liability for the sale and the effect of donation of the value of the building. Trustee has received demand for return of
  money by the buyer. - Noreen Wiscovitch 02/18/2017
  Trustee Investigating Debtor's Financial Affairs. - Noreen Wiscovitch 10/11/2016




  Initial Projected Date of Final Report (TFR): 12/31/2018            Current Projected Date of Final Report (TFR): 12/31/2018




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                                                               Document     Page  11 of 17 RECORD
                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 15-06955                                                                                               Trustee Name: NOREEN WISCOVITCH-RENTAS                                    Exhibit 9
      Case Name: ACADEMIA SAGRADO CORAZON, INC.                                                                               Bank Name: BANCO SANTANDER
                                                                                                                    Account Number/CD#: XXXXXX9527
                                                                                                                                              Checking
  Taxpayer ID No: XX-XXX1078                                                                                 Blanket Bond (per case limit): $20,264,373.00
For Period Ending: 02/16/2018                                                                                Separate Bond (if applicable):


       1                2                             3                                               4                                                       5                  6                     7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction                Uniform Tran.        Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                           ($)
   10/05/16             4         BANCO SANTANDER                           Closed Bank Account                                      1290-000               $588,498.43                              $588,498.43
                                  PO BOX 362589                             funds from DIP account No
                                  SAN JUAN, PR 00936-2589                   3004760807
   10/14/16             4         BANCO SANTANDER                           Closed Bank Account                                      1290-000                $14,879.62                              $603,378.05
                                  BANKRUPTCY DIVISION                       closed DIP account
                                  PO BOX 362589
                                  SAN JUAN, PR 00936-2589
   12/13/16                       Transfer to Acct # xxxxxx8035             Transfer of Funds                                        9999-000                                   $600,000.00             $3,378.05

   07/12/17                       Transfer from Acct # xxxxxx8035           Transfer of Funds                                        9999-000                $55,000.00                               $58,378.05

   07/18/17            101        Universidad Interamericana de Puerto      Stipulation Dkt. No. 144 and                             8500-002                                    $51,691.56             $6,686.49
                                  Rico, Inc.                                Approved Dkt. No. 145.
                                  c/o Charles A. Cuprill, Esq.
                                  Charles A. Cuprill, P.S.C., Law Offices
                                  356 Fortaleza Street, Second Floor
                                  San Juan, PR 00901
   12/01/17                       Transfer from Acct # xxxxxx8035           Transfer of Funds                                        9999-000               $546,254.63                              $552,941.12

   12/01/17            102        NOREEN WISCOVITCH-RENTAS                  Final distribution representing a                        2100-000                                    $30,897.06          $522,044.06
                                  PMB #136                                  payment of 100.00 % per court
                                  400 Calle Calaf                           order.
                                  SAN JUAN, PR 00918
   12/01/17            103        NOREEN WISCOVITCH-RENTAS                  Final distribution representing a                        2200-000                                         $72.19         $521,971.87
                                  PMB #136                                  payment of 100.00 % per court
                                  400 Calle Calaf                           order.
                                  SAN JUAN, PR 00918
   12/01/17            104        OFFICE OF THE U.S. TRUSTEE                Final distribution to claim 14                           2950-000                                     $1,300.00          $520,671.87
                                  OCHOA BUILDING                            representing a payment of
                                  500 STREET, SUITE 301                     100.00 % per court order.
                                  SAN JUAN, PR 00901-1922
   12/01/17            105        Vilarino & Assoc.,LLC                     Final distribution representing a                        3210-000                                     $7,762.50          $512,909.37
                                  Vilari o & Associates LLC                 payment of 100.00 % per court
                                  PO BOX 9022515                            order.
                                  SAN JUAN, PR 00902-2515




                                                                                    Page Subtotals:                                                       $1,204,632.68         $691,723.31
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                                                               Document     Page  12 of 17 RECORD
                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 15-06955                                                                                         Trustee Name: NOREEN WISCOVITCH-RENTAS                                     Exhibit 9
      Case Name: ACADEMIA SAGRADO CORAZON, INC.                                                                         Bank Name: BANCO SANTANDER
                                                                                                              Account Number/CD#: XXXXXX9527
                                                                                                                                        Checking
  Taxpayer ID No: XX-XXX1078                                                                           Blanket Bond (per case limit): $20,264,373.00
For Period Ending: 02/16/2018                                                                          Separate Bond (if applicable):


       1                2                             3                                         4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                 Description of Transaction                Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                            ($)
   12/01/17            106        Vilarino & Assoc.,LLC               Final distribution representing a                        3220-000                                         $129.33         $512,780.04
                                  Vilari o & Associates LLC           payment of 100.00 % per court
                                  PO BOX 9022515                      order.
                                  SAN JUAN, PR 00902-2515
   12/01/17            107        TAMAREZ CPA, LLC                    Final distribution representing a                        3410-000                                      $3,140.00          $509,640.04
                                  P.O. BOX 194136                     payment of 100.00 % per court
                                  SAN JUAN, PR 00919-4136             order.
   12/01/17            108        TAMAREZ CPA, LLC                    Final distribution representing a                        3420-000                                         $157.55         $509,482.49
                                  P.O. BOX 194136                     payment of 100.00 % per court
                                  SAN JUAN, PR 00919-4136             order.
   12/01/17            109        INTERNAL REVENUE SERVICE            Final distribution to claim 2                            4300-000                                     $39,799.39          $469,683.10
                                  P.O. BOX 7317                       representing a payment of
                                  PHILADELPHIA, PA 19101-7317         100.00 % per court order.
   12/01/17            110        INTERNAL REVENUE SERVICE            Final distribution to claim 12                           6810-000                                     $18,389.19          $451,293.91
                                  P.O. BOX 7317                       representing a payment of
                                  PHILADELPHIA, PA 19101-7317         100.00 % per court order.
   12/01/17            111        INTERNAL REVENUE SERVICE            Final distribution to claim 2                            5800-000                                     $70,615.30          $380,678.61
                                  P.O. BOX 7317                       representing a payment of
                                  PHILADELPHIA, PA 19101-7317         100.00 % per court order.
   12/01/17            112        STATE INSURANCE FUND CORP.          Final distribution to claim 8                            5800-000                                      $2,842.29          $377,836.32
                                  BANKRUPTCY DIVISIONN                representing a payment of
                                  P.O. BOX 365028                     100.00 % per court order.
                                  SAN JUAN, PR 00936-5028
   12/01/17            113        DEPARTMENT OF TREASURY              Final distribution to claim 9                            5800-000                                     $32,309.54          $345,526.78
                                  BANKRUPTCY DEPARMENT                representing a payment of
                                  P.O. BOX 9024140                    100.00 % per court order.
                                  SECTION 424
                                  SAN JUAN, PR 00902-4140
   12/01/17            114        Pioneer Funding Group, LLC          Final distribution to claim 1                            7100-000                                     $23,200.00          $322,326.78
                                  Greeley Square Station              representing a payment of
                                  P.O. Box 20188                      100.00 % per court order.
                                  New York, NY 10001
   12/01/17            115        OFFICE OF THE UNITED STATES         Final distribution to claim 3                            7100-000                                         $325.00         $322,001.78
                                  TRUSTEE                             representing a payment of
                                  OCHOA BUILDING                      100.00 % per court order.
                                  500 TANCA STREET, SUITE 301
                                  SAN JUAN, PR 00901-1922



                                                                              Page Subtotals:                                                                $0.00         $190,907.59
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 15-06955                                                                                         Trustee Name: NOREEN WISCOVITCH-RENTAS                                    Exhibit 9
      Case Name: ACADEMIA SAGRADO CORAZON, INC.                                                                         Bank Name: BANCO SANTANDER
                                                                                                              Account Number/CD#: XXXXXX9527
                                                                                                                                        Checking
  Taxpayer ID No: XX-XXX1078                                                                           Blanket Bond (per case limit): $20,264,373.00
For Period Ending: 02/16/2018                                                                          Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                 Description of Transaction                Uniform Tran.        Deposits ($)      Disbursements ($)   Account/CD Balance
                    Reference                                                                                                     Code                                                           ($)
   12/01/17            116        OFFICE OF THE UNITED STATES         Final distribution to claim 4                            7100-000                                      $3,250.00         $318,751.78
                                  TRUSTEE                             representing a payment of
                                  OCHOA BUILDING                      100.00 % per court order.
                                  500 TANCA STREET, SUITE 301
                                  SAN JUAN, PR 00901-1922
   12/01/17            117        AUTORIDAD ENERGIA ELECTRICA         Final distribution to claim 5                            7100-000                                    $118,772.32         $199,979.46
                                  BANKRUPTCY DEPARTMENT               representing a payment of
                                  P.O. BOX 364267                     100.00 % per court order.
                                  SAN JUAN, PR 00936-4267
   12/01/17            118        AUTORIDAD ACUEDUCTOS Y              Final distribution to claim 6                            7100-000                                     $45,161.98         $154,817.48
                                  ALCANTARILLADOS                     representing a payment of
                                  BANKRUPTCY DEPARTMENT               100.00 % per court order.
                                  P.O. BOX 7066
                                  SAN JUAN, PR 00916-7066
   12/01/17            119        BANCO POPULAR DE PUERTO RICO        Final distribution to claim 7                            7100-000                                     $64,161.97          $90,655.51
                                  MIGDALIA GUASP, ESQ.                representing a payment of
                                  SPECIAL LOANS DEPARTMENT            100.00 % per court order.
                                  P.O. BOX 362708
                                  SAN JUAN, PR 00936-2708
   12/01/17            120        STATE INSURANCE FUND CORP.          Final distribution to claim 8                            7100-000                                     $10,611.77          $80,043.74
                                  BANKRUPTCY DIVISIONN                representing a payment of
                                  P.O. BOX 365028                     100.00 % per court order.
                                  SAN JUAN, PR 00936-5028
   12/01/17            121        DEPARTMENT OF TREASURY              Final distribution to claim 9                            7100-000                                      $7,717.32          $72,326.42
                                  BANKRUPTCY DEPARMENT                representing a payment of
                                  P.O. BOX 9024140                    100.00 % per court order.
                                  SECTION 424
                                  SAN JUAN, PR 00902-4140
   12/01/17            122        Pioneer Funding Group, LLC          Final distribution to claim 13                           7100-000                                     $45,598.47          $26,727.95
                                  Greeley Square Station              representing a payment of
                                  P.O. Box 20188                      100.00 % per court order.
                                  New York, NY 10001
   12/01/17            123        INTERNAL REVENUE SERVICE            Final distribution to claim 2                            7300-000                                      $8,193.28          $18,534.67
                                  P.O. BOX 7317                       representing a payment of
                                  PHILADELPHIA, PA 19101-7317         38.04 % per court order.




                                                                              Page Subtotals:                                                                $0.00         $303,467.11
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 15-06955                                                                                         Trustee Name: NOREEN WISCOVITCH-RENTAS                                    Exhibit 9
      Case Name: ACADEMIA SAGRADO CORAZON, INC.                                                                        Bank Name: BANCO SANTANDER
                                                                                                              Account Number/CD#: XXXXXX9527
                                                                                                                                       Checking
  Taxpayer ID No: XX-XXX1078                                                                          Blanket Bond (per case limit): $20,264,373.00
For Period Ending: 02/16/2018                                                                         Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                 Description of Transaction               Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                            ($)
   12/01/17            124        DEPARTMENT OF TREASURY              Final distribution to claim 9                           7300-000                                     $18,534.67                 $0.00
                                  BANKRUPTCY DEPARMENT                representing a payment of
                                  P.O. BOX 9024140                    38.04 % per court order.
                                  SECTION 424
                                  SAN JUAN, PR 00902-4140


                                                                                                        COLUMN TOTALS                              $1,204,632.68        $1,204,632.68
                                                                                                              Less: Bank Transfers/CD's              $601,254.63          $600,000.00
                                                                                                        Subtotal                                     $603,378.05          $604,632.68
                                                                                                              Less: Payments to Debtors                     $0.00                $0.00
                                                                                                        Net                                          $603,378.05          $604,632.68




                                                                              Page Subtotals:                                                               $0.00          $18,534.67
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 15-06955                                                                                          Trustee Name: NOREEN WISCOVITCH-RENTAS                                        Exhibit 9
      Case Name: ACADEMIA SAGRADO CORAZON, INC.                                                                         Bank Name: BANCO SANTANDER
                                                                                                               Account Number/CD#: XXXXXX8035
                                                                                                                                        Interest Bearing
  Taxpayer ID No: XX-XXX1078                                                                           Blanket Bond (per case limit): $20,264,373.00
For Period Ending: 02/16/2018                                                                          Separate Bond (if applicable):


       1                2                             3                                            4                                                       5                    6                     7

Transaction Date    Check or                Paid To / Received From                   Description of Transaction              Uniform Tran.        Deposits ($)          Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                                ($)
   12/13/16                       Transfer from Acct # xxxxxx9527     Transfer of Funds                                        9999-000               $600,000.00                                   $600,000.00

   01/31/17            INT        BANCO SANTANDER                     Interest Posting                                         1270-000                         $61.64                              $600,061.64

   02/28/17            INT        BANCO SANTANDER                     Interest                                                 1270-000                        $115.08                              $600,176.72

   03/31/17            INT        BANCO SANTANDER                     Interest                                                 1270-000                        $115.10                              $600,291.82

   04/28/17            INT        BANCO SANTANDER                     Interest                                                 1270-000                         $12.34                              $600,304.16

   04/28/17            INT        BANCO SANTANDER                     Interest                                                 1270-000                        $115.12                              $600,419.28

   05/31/17            INT        BANCO SANTANDER                     Interest                                                 1270-000                        $135.71                              $600,554.99

   06/30/17            INT        BANCO SANTANDER                     Interest Posting                                         1270-000                        $123.40                              $600,678.39

   07/12/17                       Transfer to Acct # xxxxxx9527       Transfer of Funds                                        9999-000                                         $55,000.00          $545,678.39

   07/31/17            INT        BANCO SANTANDER                     Interest Posting                                         1270-000                        $120.01                              $545,798.40

   08/31/17            INT        BANCO SANTANDER                     Bank Interest                                            1270-000                        $115.89                              $545,914.29

   09/29/17            INT        BANCO SANTANDER                     Interest                                                 1270-000                        $108.44                              $546,022.73

   10/31/17            INT        BANCO SANTANDER                     Interest Posting                                         1270-000                        $119.68                              $546,142.41

   11/30/17            INT        BANCO SANTANDER                     Interest                                                 1270-000                        $112.22                              $546,254.63

   12/01/17                       Transfer to Acct # xxxxxx9527       Transfer of Funds                                        9999-000                                        $546,254.63                 $0.00



                                                                                                          COLUMN TOTALS                               $601,254.63              $601,254.63
                                                                                                               Less: Bank Transfers/CD's              $600,000.00              $601,254.63
                                                                                                          Subtotal                                         $1,254.63                  $0.00

                                                                                 Page Subtotals:                                                      $601,254.63              $601,254.63
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                                                                       Less: Payments to Debtors
                                                                                                           Desc:
                                                                                                            $0.00
                                                                                                                  Main   $0.00
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                                                                             Net                          $1,254.63      $0.00
                                                                                                                                  Exhibit 9




                                                           Page Subtotals:                                   $0.00       $0.00
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                                                                                       TOTAL OF ALL ACCOUNTS
                                                                                                                                        NET             ACCOUNT
                                                                                                     NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                            XXXXXX8035 - Interest Bearing                                   $1,254.63                  $0.00                 $0.00
                                            XXXXXX9527 - Checking                                        $603,378.05            $604,632.68                  $0.00
                                                                                                         $604,632.68            $604,632.68                  $0.00

                                                                                                    (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                            transfers)            to debtors)
                                            Total Allocation Receipts:                      $0.00
                                            Total Net Deposits:                       $604,632.68
                                            Total Gross Receipts:                     $604,632.68




                                                                    Page Subtotals:                                        $0.00                $0.00
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